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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LEVAR T. HENRY
Pliaintiff, 17 ev 3450 (JGK)

ORDER
- against -
THE CITY OF NEW YORK, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

The defendants’ motion for summary judgment is due December

 

11, 2020. The plaintiff’s response is due January 8, 2021. The
defendants’ reply is due January 29, 2021.
SO ORDERED.
Dated: New York, New York >) Uke ,
November 4, 2020 Sore
“ John G. Koeltl

United States District Judge

 

 

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